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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
             v.                       )                Case No. 1:04-cv-00798-PLF-GMH
                                      )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey        )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.       )
                                      )
                   Defendants In Rem )

       UNITED STATES’ OPPOSITION TO CLAIMANT PAVEL LAZARENKO’S
             UNCONDITIONAL PARTIAL WITHDRAWAL OF CLAIM

       Plaintiff, United States of America, by and through its undersigned attorneys, respectfully

urges this Court to deny Claimant Pavel Lazarenko (“Lazarenko”) an unconditional Partial

Withdrawal of Claim (ECF No. 1144), and requests that the Court, if it authorizes dismissal, to

do so with prejudice and to explicitly authorize continued discovery, consistent with the Court’s

prior orders, relating to the defendant in rem assets. In his “notice” filing seeking partial

withdrawal, Claimant Lazarenko seeks to dismiss his claim to one defendant asset, account

number 0153633 AB, in the name of Tanas AG (“Tanas Asset”), identified in the Government’s

forfeiture complaint. Claimant Lazarenko does not seek this Court’s leave for the dismissal of

his claim, as required, nor does he propose any conditions for the release of his claim against the

defendant asset.

       Claimant Lazarenko fails to articulate any reasonable basis for the late-stage voluntary

dismissal of his claim. Given Claimant Lazarenko’s failure to provide any justification, the

length of this case, the status of discovery, and the United States’ entitlement to ongoing

discovery regarding any defendant in rem asset or asset traceable thereto, the United States
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requests that any dismissal be made only on the explicit condition that the dismissal of

Lazarenko’s claim to the Tanas Asset is with prejudice, and any dismissal does not foreclose the

United States’ right to conduct discovery regarding any defendant in rem asset and Lazarenko’s

use of, and the claimants’ knowledge of the use of, family members and legal entities to conceal

the proceeds of his criminal conduct.


                                        LEGAL STANDARD

       Rules 15 and 41 provide mechanisms through which claims can be dismissed in a civil

action. Generally, Rule 15 addresses the amendment of a party’s pleadings after they have been

filed; Rule 41 addresses the dismissal of actions. While Claimant fails to cite to any rule

authorizing the partial dismissal of his claim to an in rem Defendant Asset at this stage of the

case, 1 this Court and others have explicitly indicated that Rule 15, rather than Rule 41, controls

the dismissal of claims in an in rem forfeiture proceeding. See United States v. Proceeds of Drug

Trafficking Transferred to Foreign Bank Accounts, 252 F.R.D. 60, 62 (D.D.C. 2008). Further,

this Court has previously determined that Rule 15 applies when a party is dismissing some but

not all claims, which Claimant Lazarenko is attempting to achieve through his notice of partial

dismissal.

       As Lemmons v. Georgetown Hospital instructs, “the voluntary elimination or dismissal of

fewer than all of a plaintiff’s claims may occur only by amendment of the complaint pursuant to

Federal Rule of Civil Procedure 15.” Lemmons v. Georgetown Hospital, 241 F.R.D. 15, 30

(emphasis in original). Under Rule 15, any attempt at an amendment which follows more than



1
  The United States refers to Lazarenko’s Notice of Withdrawal of Claim to the Tanas AG
account as a “partial dismissal” because Lazarenko is attempting to dismiss one of his claims to
the Defendant Assets but not all of his claims to the Defendant Assets.

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21 days after service of the claim, a responsive pleading, or service of a motion under Rule 12,

can only occur through consent of the parties or leave of the court. See FED. R. CIV. P. 15 (a)(2).

                                          ARGUMENT

       Since Lazarenko is silent on the authority he is using to unilaterally withdraw his claim, it

remains unclear whether he is relying on Rule 15, Rule 41 or a different rule to do so. Despite

Lazarenko’s ambiguity and given the Court’s prior instruction in United States v. Proceeds of

Drug Trafficking Transferred to Foreign Bank Accounts, the United States asserts that Rule 15 is

the appropriate mechanism for amendment of Lazarenko’s claim. See Proceeds of Drug

Trafficking Transferred to Foreign Bank Accounts, 252 F.R.D. at 62.

           A. Lazarenko Failed to Seek or Obtain Leave to Amend or Voluntarily Dismiss
              His Claims As Required by Fed. R. Civ. P. 15 and 41.

       Under Rule 15(a), after the period established under 15(a)(1) has lapsed, amendment can

only occur where there is consent of the parties or leave of the court. Rule 15 (a)(2). Here,

Claimant Lazarenko never sought the United States’ consent to an amendment, nor has he

requested leave from the court to do the same. 2 For these reasons alone his notice of withdrawal

is not properly before this Court. See FED. R. CIV. P. 15 (a)(2).

       Moreover, even if Claimant Lazarenko’s attempt to amend were to be construed as a

voluntary dismissal under Rule 41, voluntary dismissal of a third party counterclaim without a

court order under Rule 41(a) (1) is only authorized where a responsive pleading has not been

filed; therefore, leave to amend is still required. See FED. R. CIV. P. 41(c). Nearly 15 years has

passed since Claimant Lazarenko filed his claim to the Tanas Asset, which only now he seeks to




       2
         In other cases before this Court where an in rem claimant has sought to withdraw claims
to an asset, leave was required. See, e.g., United States v. 8 Gilcrease Lane, 641 F.Supp.2d.1
(D.D.C. 2009).

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dismiss. Further, since the filing of that claim, the Tanas Asset has been the subject of numerous

motions and significant discovery to and from Claimant Lazarenko and other claimants in this

action, particularly the A/E/L claimants, regarding the Tanas Asset.

           B. Amendment/Dismissal of Just Some of His Claims at this Stage Should Occur
              with Prejudice and Should Not Foreclose Discovery Relating to Any
              Defendant In Rem Asset in this Case.

        Claimant Lazarenko offers no justification for seeking the dismissal of his claims to

 the Tanas Asset after nearly fifteen years of litigation. This unexplained delay has resulted in

 extensive discovery and motion practice regarding the Tanas Asset and other Defendant

 Assets in the In Rem Complaint, specifically: (1) the filing of numerous motions related to the

 defendant assets, including the Tanas Asset; (2) numerous discovery depositions on issues

 relating to the Tanas Asset and other Defendant Assets; and (3) the exchange of expert reports

 reliant on the parties’ discovery submissions and pleadings. Indeed, Claimant Lazarenko has

 sought to amend his claims on other occasions, and in prior instances did not seek the

 dismissal of his claim to the Tanas Asset. Further, discovery as to Claimant Lazarenko ended

 months ago. As such, the United States consents to the dismissal of Lazarenko’s claim to the

 Tanas Asset provided that any such dismissal occur with prejudice, and that any order

 dismissing this claim explicitly provide that discovery, consistent with the Court’s prior

 orders, is permissible as to any defendant asset in this action, including the Tanas Asset, and

 Lazarenko’s use of, and the A/E/L Claimants knowledge of his use of, family members and

 legal entities to conceal his criminally derived assets.

        Further, an order explicitly providing for discovery regarding the Tanas Asset is

 necessary because it appears that Lazarenko’s effort to dismiss his claim at this late juncture

 is merely a strategic maneuver to avoid responding to the United States’ legitimate discovery


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inquiries—both into the funding source of the Tanas Asset and whether and how some of

those funds moved to assets now held by the A/E/L Claimants—that he or the A/E/L

Claimants believe may be harmful to their claims and affirmative defenses.

       For example, the A/E/L Claimants have sought to quash valid subpoena information

regarding assets that are believed to be traceable to the Tanas Asset. See ECF Nos. 1136.

Indeed, the A/E/L claimants are already using Claimant Lazarenko’s Notice of Partial

Withdrawal to avoid discovery. In a recent filing before the United States District Court for

the Northern District of California, Lazarenko’s children advise that Pavel Lazarenko has

withdrawn his claim to the Tanas asset, “… [t]herefore, the subpoena no longer seeks

information which is relevant to the Government’s claim.” Memorandum in Support of

Motion to Quash attached hereto as Exhibit 1, p 6. And, despite Magistrate Judge Harvey’s

order compelling them to belatedly respond to production requests, the A/E/L Claimants have

submitted a document that largely evades their obligation to produce information regarding

assets traceable to the in rem Defendants. See A/E/L Claimants’ Responses to Plaintiff’s

Second Set of Discovery Requests, attached as Exhibit 2. Given Claimants’ persistent

avoidance of their discovery obligations, it is apparent that their recent attempt to dismiss

their claims to the Tanas Asset is yet another ill-conceived ploy to impede discovery relating

to that asset, Lazarenko’s effort to conceal his criminally derived property, and the claimants’

knowledge of criminal conduct and concealment.

       Claimant’s gamesmanship has not only impeded the United States’ ability to take

legitimate discovery, it has also unnecessarily caused the United States to assume significant

expenses engaging in discovery regarding an asset to which Claimant Lazarenko—at the last

minute—suggests he has no claim. As noted, the United States and A/E/L Claimants



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 continue to engage in active fact discovery. Substantial written discovery (interrogatories,

 requests for production, and requests for admission) were propounded on Claimant Lazarenko

 and the A/E/L Claimants during the course of this action. The United States has also

 conducted, and continues to take, depositions based on the facts alleged in the complaint and

 numerous answers. Requiring the Government to undertake significant expense in the

 discovery of claims that Claimant would simply dismiss without consequence, after he has

 obtained his own discovery, is unwarranted and provides grounds for imposing the conditions

 requested by the United States; i.e., dismissal with prejudice 3 and continued discovery,

 consistent with this Court’s prior orders, relating to any defendant in rem asset in this case.

                                             CONCLUSION

       For the reasons set forth above, this Court should dismiss Pavel Lazarenko’s claim to the

Tanas Asset with prejudice and enter an order providing for discovery, consistent with this

Court’s prior orders, relating to any defendant in rem asset in this case and assets traceable

thereto and Pavel Lazarenko’s use of, and any claimant’s knowledge of, the use of such assets to

conceal the proceeds of criminal conduct. A Proposed Order is attached.




                                              Respectfully submitted,


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          The United States is particularly concerned that Claimant Lazarenko will seek to
reinstate his claim for purposes of strategic advantage, which is an approach that his son,
Alexander Lazarenko, recently took to forestall his authorized deposition. Days before his
scheduled deposition, Claimant Alexander Lazarenko counsel advised the Court and the United
States that he intended to withdraw his claim to the Balford Trust Assets. Days later, after the
deposition date passed, Alexander Lazarenko advised that he would no longer be withdrawing
his claim, but would insist on different conditions for his deposition if rescheduled. By
requesting that Claimant Pavel Lazarenko’s claim to the Tanas Asset be dismissed with
prejudice, the United States seeks to avoid any further prejudice, including resource waste, that
has resulted from the Lazarenko claimants’ abusive litigation tactics.
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                              DEBORAH CONNOR, CHIEF
                              MONEY LAUNDERING AND
                                ASSET RECOVERY SECTION

                              /s/ Teresa C. Turner-Jones
                              DANIEL H. CLAMAN
                              Principal Assistant Deputy Chief
                              TERESA C. TURNER-JONES
                              Senior Trial Attorney
                              Adam Schwartz
                              Rebecca A. Caruso
                              Trial Attorneys
                              Money Laundering and
                                  Asset Recovery Section
                              Criminal Division
                              U.S. Department of Justice
                              1400 New York Avenue, N.W., 10th Floor
                              Washington, D.C. 20530
                              Telephone: (202) 514-1263

                              Attorneys for Plaintiff
                              UNITED STATES OF AMERICA




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